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 1    JOSHUA HILL JR. (SBN 250842)
      JHill@mofo.com
 2    MORRISON & FOERSTER LLP
      425 Market Street
 3    San Francisco, California 94105-2482
      Telephone: 415.268.7000
 4    Facsimile: 415.268.7522

 5    JANIE F. SCHULMAN (SBN 130461)
      JSchulman@mofo.com
 6    NILES A. PIERSON (SBN 307115)
      NPierson@mofo.com
 7    MORRISON & FOERSTER LLP
      707 Wilshire Boulevard, Suite 6000
 8    Los Angeles, California 90017-3543
      Telephone: 213.892.5200
 9    Facsimile: 213.892.5454

10
      Attorneys for Plaintiff
11    INTERNATIONAL TECHNOLOGICAL
      UNIVERSITY FOUNDATION, INC.
12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN JOSE DIVISION
15
      INTERNATIONAL TECHNOLOGICAL                          Case No.    5:18-cv-06228-EJD
16    UNIVERSITY FOUNDATION, INC.,
                                                           Judge: Hon. Edward J. Davila
17                          Plaintiff,
                                                           JOINT STIPULATION AND
18           v.                                            [PROPOSED] ORDER CONTINUING
                                                           CONSOLIDATED HEARINGS FROM
19    CHAD F. WOLF, in his official capacity as            JANUARY 23, 2020 TO APRIL 2, 2020,
      Acting Secretary of the Department of                AND CONTINUING INITIAL CASE
20    Homeland Security, UNITED STATES OF                  MANAGEMENT CONFERENCE
      AMERICA, UNITED STATES                               FROM FEBRUARY 27, 2020 TO MAY
21    DEPARTMENT OF HOMELAND                               7, 2020
      SECURITY, UNITED STATES
22    IMMIGRATION AND CUSTOMS
      ENFORCEMENT, STUDENT EXCHANGE
23    AND VISITOR PROGRAM, and DOES 1                      Date Action Filed: October 11, 2018
      through 10, inclusive,                               Trial Date:        None Set
24
                            Defendants.
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     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS AND CONTINUING INITIAL
     CASE MANAGEMENT CONFERENCE
     Case No. 18-CV-6228
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 1          Plaintiff International Technological University Foundation, Inc. (“ITU”) and Defendants

 2   Chad F. Wolf, in his official capacity as Acting Secretary of the Department of Homeland

 3   Security, United States of America, U.S. Department of Homeland Security, and U.S.

 4   Immigration and Customs Enforcement, Student and Exchange Visitor Program (collectively,

 5   “Defendants”) hereby stipulate as follows:

 6          WHEREAS on October 11, 2018, ITU filed a Complaint alleging violations of the Due

 7   Process Clause of the Fifth Amendment and the Administrative Procedure Act and seeking

 8   declaratory, injunctive, and mandamus relief pursuant to 28 U.S.C. §§ 1361, 1651, & 2201 and 5

 9   U.S.C. § 706;

10          WHEREAS on October 11, 2018, ITU’s counsel notified the United States Attorney’s

11   Office of ITU’s intent to file an emergency application for a Temporary Restraining Order

12   (“TRO”) later that same day;

13          WHEREAS Defendants requested that ITU postpone filing the application for a TRO

14   while Defendants agreed to a stay of proceedings in the administrative adjudication of ITU’s

15   certification to enroll nonimmigrant students;

16          WHEREAS Defendants agreed to a stay of proceedings in the administrative adjudication

17   of ITU’s certification to enroll nonimmigrant students pending a ruling on ITU’s motion for a

18   preliminary injunction (“PI Motion”) if ITU agreed not to file an application for a TRO;

19          WHEREAS the parties previously stipulated to a stay of administrative proceedings until

20   this Court rules on Plaintiff’s anticipated PI Motion, a briefing schedule, and a consolidated

21   hearing date for the PI Motion and Motion to Dismiss of March 14, 2019, as set out in full in this

22   Court’s Order dated October 30, 2018 (Dkt. No. 22);

23          WHEREAS the parties previously stipulated to continue the consolidated hearing date to

24   April 11, 2019, as set out in full in this Court’s Order dated December 10, 2018 (Dkt. No. 25);

25          WHEREAS the parties filed their opening briefs pursuant to their stipulated schedule on

26   December 17, 2018 (Dkt. Nos. 26, 27);

27          WHEREAS the parties filed their opposition briefs on March 22, 2019 and their reply

28   briefs on May 5, 2019 (Dkt. Nos. 32, 33);
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 1           WHEREAS the Court advanced the consolidated hearing to June 12, 2019 and reset the

 2   initial case management conference to August 29, 2019 (Dkt. No. 41);

 3           WHEREAS the parties previously stipulated to continue the consolidated hearing until

 4   August 1, 2019, as set out in full in this Court’s Order dated June 7, 2019 (Dkt. No. 43);

 5           WHEREAS the parties previously stipulated to further continue the consolidated hearing

 6   from August 1, 2019 to September 26, 2019 (Dkt. No. 45);

 7           WHEREAS the Court denied Defendants’ Motion to Dismiss and Plaintiff’s PI Motion

 8   without prejudice on July 25, 2019 and ordered that the motions be renoticed, if at all, by

 9   September 11, 2019 for a hearing on September 26, 2019 (Dkt. No. 46);

10           WHEREAS the Court extended the parties’ time to renotice the consolidated hearings

11   from September 11, 2019 for a hearing on September 26, 2019 to December 30, 2019 for a

12   hearing on January 23, 2020 and set the initial case management conference for February 27,

13   2020 (Dkt. No. 48);

14           WHEREAS the parties engaged in active settlement discussions throughout the summer

15   until early October, but encountered a delay in negotiations due to changes in the composition of

16   ITU’s Board of Trustees and senior leadership that occurred in October;

17           WHEREAS on December 27, 2019, Defendants renoticed the hearing on their motion to

18   dismiss for January 23, 2020 (Dkt. No. 49);

19           WHEREAS on December 30, 2019, Plaintiff renoticed the hearing on its motion for a

20   preliminary injunction for January 23, 2020 (Dkt. No. 50);

21           WHEREAS, following the parties’ filings renoticing the consolidated hearings, ITU’s new

22   senior leadership proposed the resumption of settlement discussions, and in response the

23   Government has requested additional information from ITU so that it may consider the effects of

24   recent developments at ITU;WHEREAS these further discussions may obviate the need for

25   further litigation before this Court;

26           WHEREAS the January 23, 2020 hearing date additionally presents a scheduling conflict

27   for Plaintiff’s counsel;

28           WHEREAS the parties agree that it would best conserve the resources of the Court and
     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS AND CONTINUING INITIAL
     CASE MANAGEMENT CONFERENCE                                                                          2
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 1   the parties to permit the parties additional time to carry on these discussions prior to the

 2   consolidated motion hearing and the initial case management conference, that the consolidated

 3   hearing currently set for January 23, 2020 should be continued to April 2, 2020 and that the initial

 4   case management conference currently set for February 27, 2020 should be continued to May 7,

 5   2020;

 6           IT IS HEREBY STIPULATED by and between Plaintiff ITU and Defendants that:

 7           (1)    The parties jointly request that the hearings on the Plaintiff’s motion for

 8                  preliminary injunction (Dkt. No 26) and Defendants’ motion to dismiss (Dkt. No.

 9                  27) be continued from January 23, 2020 to April 2, 2020;

10           (2)    The parties jointly request that the initial case management conference be

11                  continued from February 27, 2020 to May 7, 2020; and

12           (3)    This Joint Stipulation shall leave undisturbed all agreements between the parties

13                  set out in Paragraphs 1, 2 and 3 of the Joint Stipulation, filed October 29, 2018,

14                  and the Court’s Order, dated October 30, 2018 (Dkt. No. 22).

15

16   Respectfully Submitted,

17

18   DATED:         January 8, 2020

19
      MORRISON & FOERSTER LLP                           DAVID L. ANDERSON
20                                                      UNITED STATES ATTORNEY
21

22    By: /s/ Joshua Hill                               By: /s/ Michelle Lo
          JOSHUA HILL JR.                                   Michelle Lo
23                                                          Assistant United States Attorney
24           Attorneys for Plaintiff                          Attorneys for Federal Defendants
             INTERNATIONAL
25           TECHNOLOGICAL UNIVERSITY
             FOUNDATION, INC.
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     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS AND CONTINUING INITIAL
     CASE MANAGEMENT CONFERENCE                                                                             3
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 1                                        [PROPOSED] ORDER

 2   Having reviewed the parties’ Joint Stipulation and [Proposed] Continuing Consolidated Hearings

 3   From January 23, 2020 to April 2, 2020, and Continuing Initial Case Management Conference

 4   from February 27, 2020 to May 7, 2020, IT IS HEREBY ORDERED that:

 5          (1)     The hearings on the Plaintiff’s motion for preliminary injunction (Dkt. No 26) and

 6                  Defendants’ motion to dismiss (Dkt. No. 27) be continued from January 23, 2020

 7                  to April 2, 2020;

 8          (2)     The initial case management conference is continued from February 27, 2020 at

 9                  10:00 a.m. to May 7, 2020 at 10:00 a.m.; and

10          (3)     All agreements between the parties set out in Paragraphs 1, 2 and 3 of the Joint

11                  Stipulation, filed October 29, 2018 (Dkt. No. 21), and the Court’s Order, dated

12                  October 30, 2018 (Dkt. No. 22) shall remain in effect.

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14   IT IS SO ORDERED.

15
      DATED: _____________________
             January 8, 2020
16                                                            HON. EDWARD J. DAVILA
                                                           UNITED STATES DISTRICT COURT
17                                                                    JUDGE
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     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS AND CONTINUING INITIAL
     CASE MANAGEMENT CONFERENCE                                                                          4
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